Case 2:16-cv-06287-PD Document 109-1 Filed 11/29/18 Page 1 of 3




                     Exhibit A
       Case 2:16-cv-06287-PD Document 109-1 Filed 11/29/18 Page 2 of 3




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JILL STEIN, RANDALL REITZ, ROBIN HOWE,
SHANNON KNIGHT, EMILY COOK, and
KIMBERLY KUPKA,
                     Plaintiffs,
                                                                   No. 16-CV-6287
 v.

PEDRO A. CORTÉS, in his official capacity as
Secretary of the Commonwealth; and JONATHAN
MARKS, in his official capacity as Commissioner
of the Bureau of Commissions, Elections, and
Legislation,
                           Defendants.


                               STIPULATION AND ORDER

      WHEREAS Plaintiffs and Defendants have agreed to settle this action (Dkt. #108-1);

      IT IS HEREBY STIPULATED AND AGREED by and between the Parties as follows:

      1. All claims asserted by Plaintiffs against Defendants and any claims and affirmative

         defenses Defendants may have asserted against Plaintiffs shall be dismissed;

      2. The Court shall retain jurisdiction to enforce the terms of the private Settlement

         Agreement (Dkt. # 108-1) until the Expiration Date of December 31, 2022.
        Case 2:16-cv-06287-PD Document 109-1 Filed 11/29/18 Page 3 of 3




Counsel for Plaintiffs:                    Counsel for Defendants:

/s                                         /s


Ilann M. Maazel, Esq.                      Sue Ann Unger, Esq.
Douglas E. Lieb, Esq.                      Senior Deputy Attorney General
Emery Celli Brinckerhoff & Abady LLP       Stephen Kovatis, Esq.
600 Fifth Avenue, 10th Floor               Senior Deputy Attorney General
New York, NY 10020                         1600 Arch Street, Suite 300
(212) 763-5000                             Philadelphia, PA 19103
                                           (215) 560-2127
Date: November 29, 2018
                                           Date: November 29, 2018

/s
                                           /s
______________________________             _______________________________
John G. Papianou, Esq.                     Timothy Gates, Esq.
Montgomery McCracken Walker & Rhoads       Chief Counsel
1735 Market Street                         Kathleen Kotula, Esq.
Philadelphia, PA 19103                     Executive Deputy Chief Counsel
(215) 772-7389                             Pennsylvania Department of State
Date: November 29, 2018
                                           306 North Office building
                                           401 North Street
                                           Harrisburg, PA 17120
                                           (717) 783-0736

                                           Date: November 29, 2018




SO ORDERED



PAUL DIAMOND, J.




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